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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF SOUTH CAROLINA
                                       GREENWOOD DIVISION


Vickie McFarland, Individually and as Personal
Representative of the Estate of Mamie Harvley,                           8:15-cv-04201-TMC
                                                                         8:15-cv-04202-TMC
                  Plaintiff,

vs.                                                                  PETITION FOR SETTLEMENT
                                                                            APPROVAL
Magnolia Manor-Greenwood, Magnolia Manor of
Greenwood a/k/a THI of South Carolina at
Greenwood, LLC, THI of South Carolina, LLC,
Fundamental Clinical and Operation Services, LLC
and THI of Baltimore, Inc.,

                  Defendants.




       Please find the attached Petition.



                                             Harbin & Burnett, LLP



                                              s/ Jennifer Burnett
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